        Case 9:15-cr-00001-DLC Document 31 Filed 06/05/15 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 15–01–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 KENNETH MARTIN CHANDLER,

                      Defendant.


      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 20, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Kenneth Martin Chandler’s

guilty plea after Chandler appeared before him pursuant to Federal Rule of

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        Case 9:15-cr-00001-DLC Document 31 Filed 06/05/15 Page 2 of 2



Criminal Procedure 11, and entered a plea of guilty to one count of distribution of

methamphetamine in violation of 21 U.S.C. § 841(a) (Count III), as set forth in the

Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts I, II, and IV of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

30), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Kenneth Martin Chandler’s motion to

change plea (Doc. 23) is GRANTED and Kenneth Martin Chandler is adjudged

guilty of the offense charged in Count III of the Indictment.

      DATED this 5th day of June, 2015.




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